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MEMPHIS PUBLISHING co., yls.@}HZ'-~!}`J

Plaintiff,

V'S.

No. 04-2620 B[P

NEWSPAPER GUILD OF MEMPHIS,
LOCAL 33091,

Defendant.

 

ORDER GRANTING DEFENDANT'S MOTION TO STRIKE
PORTIONS OF AMENDED COMPLAINT

 

Before the court is defendant Newspaper Guild of Memphis,
Local 33091's (the “Guild") Motion to Strike Portions of Amended
Complaint, filed June 30, 2005 (dkt #51).l The plaintiff, Memphis
Publishing Company d/b/a The Commercial Appeal (“MPC”) filed its
response on July 12, 2005. The Guild filed a reply on July 19,
2005. For the reasons below, the motion is GRANTED.

On May 19, 2005, MPC filed a Motion to Amend Complaint, or, in
the Alternate, to Stay Arbitration Pending Lawsuit. In the motion,
MPC sought to amend its complaint to include one grievance

submitted on March l, 2005 to the American Arbitration Association

 

lOn July 12, 2005, the Guild also filed a Motion to Dismiss,
In Part, MPC’s Amended Complaint (dkt #62). The arguments raised
in the Guild’s partial motion to dismiss are identical to the
arguments contained in the motion to strike.

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with nula 55 and/oer(a) FncP on " \&- §)5

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(“AAA”) for arbitration. This March J_ grievance involved the
Reduction In Force of eight Guild-represented employees. MPC
sought leave of court to add paragraph 20A, Which sets forth the
allegations regarding this March 1 grievance. The Guild filed a
response in opposition to the motion to amend.

On May 26, 2005, approximately one week after MPC filed its
motion. to amend, the Guild filed three separate demands for
arbitration with the AAA: a union discrimination grievance related
to a management official's order to a Guild-represented employee to
remove a Guild t-shirt from his chair; a grievance related to the
reduction of hours and compensation benefits of part-time Guild-
represented.employees; and a grievance related to the discipline of
Guild-represented employees for alleged violations of MPC's
attendance policy. At no time did MPC supplement its motion to
amend to include these May 26 grievances.

On June 22, 2005, the court granted MPC's motion to amend, and
allowed MPC to amend its complaint to add the March l grievance.
On June 27, 2005, MPC filed its amended complaint with the clerk's
office and included not only the March l grievance, but also the
three May 26 grievances.

The court finds that the amended complaint filed. by' MPC
clearly exceeds the scope of this court's June 22 order granting
leave to amend. The three May 26 grievances were never brought to

the court's attention, nor did MPC advise the Guild that it was

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seeking to include the May 26 grievances in its motion to amend.
The Guild was not given an opportunity to be heard on this issue.
MPC should not have unilaterally filed an amended complaint without
prior authorization from the court.

Moreover, as made apparent to the court at the August 2, 2005
evidentiary hearing on MPC’s motion to stay arbitration, whether or
not these May 26 grievances are added to the complaint will have no
bearing on the merits of this lawsuit. The issue that will be
presented to the court at the trial relates to whether the parties'
collective bargaining agreement (“CBA”) expired.on,January ll, 2004
(as MPC alleges), or whether the evergreen provision extends the
CBA until such time that the parties enter into a new CBA (as the
Guild contends}. Of course, the resolution of this dispute will
have an impact on whether the May 26 grievances will be subjected
to mandatory arbitration under the CBA, but the same would be true
even if the May 26 grievances are not added to the complaint. In

other words, the court's final judgment on this declaratory action

will affect the May' 26 grievances m and for that matter any
additional grievances that may be filed in the future a even if
these grievances are not part of the complaint. Furthermore, as

the parties stated at the August 2 hearing, their discovery in this
case has been limited almost exclusively to the issues surrounding
the evergreen clause, which is a further indication. that the

parties do not intend to present much, if any, proof on the merits

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of any of the grievances (other than the evergreen issue and the

Guild's counterclaim).

For these reasons, the motion. to strike portions of the

amended complaint that relate to the May 26 grievances is GRANTED.

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TU M. PHAM
United States Magistrate Judge

IT IS SO ORDERED.

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Date U

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 78 in
case 2:04-CV-02620 Was distributed by faX, mail, or direct printing on

August 12, 2005 to the parties listed.

 

Samuel Morris

GODWIN MORRIS LAURENZI & BLOON[FIELD, P.C.

50 N. Front St.
Ste. 800
1\/1emphis7 TN 38103

L. Michael Zinser

THE ZINSER LAW FIRM
150 Second Ave.7 N.

Ste. 410

Nashville, TN 37201

Barbara Camens

BARR & CA1\/1ENS

1025 Connecticut Avenue
Suite 712

Washington, DC 20036

Glenn E. Plosa

THE ZINSER LAW FIRM
150 Second Ave.,N.

Ste. 410

1\/1emphis7 TN 37201

Honorable .1. Breen
US DISTRICT COURT

